Case 2:16-cv-14549-RLR Document 17 Entered on FLSD Docket 03/16/2017 Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                              CASE NO. 2:16-CV-14549-ROSENBERG/LYNCH

PATRICIA KENNEDY,
           Plaintiff,
v.
PETER & PHYLLIS LOPILATO et al.,
           Defendants.
                                                        /

                                ORDER DISMISSING AND CLOSING CASE

           THIS CAUSE came before the Court upon the parties’ Joint Stipulation of Final Dismissal

with Prejudice and Retention of Jurisdiction as to Defendants Peter Lopilato & Phyllis Lopilato, La

Hara Corp a/k/a Gigi’s Pizza and Sebastian Lahara d/b/a Bike’s Plus [DE 16]. In light of the parties’

Joint Stipulation, it is hereby

           ORDERED AND ADJUDGED as follows:

           1.          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this action is
                       DISMISSED WITH PREJUDICE.

           2.          The Court retains jurisdiction to enforce the terms of the settlement agreement
                       reached in this case.

           3.          The Clerk of the Court is instructed to CLOSE THIS CASE.

           4.          All pending motions are DENIED AS MOOT, all deadlines are TERMINATED,
                       and all hearings are CANCELLED.

           DONE and ORDERED in Chambers, Fort Pierce, Florida, this 15th day of March, 2017.




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                                                            ROBIN L. ROSENBERG
                                                            UNITED STATES DISTRICT JUDGE
Copies furnished to:
Counsel of Record
